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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

OKLAHOMA SPECIALTY INSURANCE                   §
COMPANY,                                       §
                                               §
              Plaintiff,                       §
                                               §
V.                                             §           1-15-CV-262 RP
                                               §
KUNG FU SALOON HOLDINGS, LLC                   §
and ROBERT CAMILLONE,                          §
                                               §
              Defendants.                      §


                                      FINAL JUDGMENT

       Before the Court is the above entitled cause of action. On this day, the Court entered an

order granting the parties’ Joint Agreed Motion to Dismiss With Prejudice. Having granted the

motion, the Court enters the following Final Judgment pursuant to Federal Rule of Civil Procedure

58.

       IT IS HEREBY ORDERED all claims and causes of action asserted by the parties in this

action are hereby DISMISSED WITH PREJUDICE. Each party is to bear its own costs and fees.

       IT IS FURTHER ORDERED that all pending motions are hereby TERMINATED.

       IT IS FURTHER ORDERED that all relief not expressly granted is hereby DENIED.

       IT IS FINALLY ORDERED that the case is hereby CLOSED.

       SIGNED on July 1, 2015.




                                           ROBERT L. PITMAN
                                           UNITED STATES DISTRICT JUDGE
